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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

UNITED STATES OF AMERICA

v                                                            CASE NO: 5:21-mj-1009-PRL

MICHAEL CURZIO
                                                              AUSA: William S. Hamilton
                                                           Deft. Atty.: Christine Bird (FPD)

    JUDGE          Philip R. Lammens         DATE AND TIME                 January 14, 2021
                                                                          4:38 pm -5:05 pm
                                                                                 27 minutes
    DEPUTY         Mari Jo Taylor            TAPE/REPORTER                       DIGITAL
    CLERK
    INTERPRETER    Not required              PRETRIAL/PROBATION:             Megan Martin,
                                                                             Bryan Coomer

               CLERK'S MINUTES – INITIAL APPEARANCE (Rule 5c)

Defendant arrested on a Criminal Complaint from the District of Columbia. Their case
number: 1:12-mj-12

Case called, appearances made, procedural settings by the Court. All parties and counsel are
appearing via video pursuant to the authority granted by the Court pursuant to the
Administrative Orders entered in 8:20-mc-25 regarding the CARES Act. Court confirms
with both the defendant and defense counsel consent to appear via video for this hearing.

Defendant advised of rights, charges, penalties, etc.

Defendant requests court-appointed counsel. Based on the financial affidavit completed
by defendant and/or a financial inquiry, the Court appoints Asst. Federal Public
Defender Christine Bird with reimbursement upon filing by U.S. Attorney.
ORDER TO ENTER.

Court advises defendant of Rule 20 rights.

Government orally moves for detention.

At request of the originating district, the Government requests to schedule a remote
hearing in the District of Columbia Court for the defendant on this charge preferably
before the resolution of the detention or preliminary examination hearing.
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Defendant reserves his rights as to any hearings he is entitled to and requests a continuance in
order to possibly retain counsel.

This initial appearance will reconvene on Tuesday, January 19 th at 3:30 pm.

ORDER OF TEMPORARY DETENTION ENTERED.

The Court advises the defendant that if that if more information is learned as to the setting
of a hearing with the District of Columbia, that the information would be conveyed to Ms.
Bird.
